                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                        FORT LAUDERDALE DIVISION



MELISSA GREEN, an individual,                          CIVIL ACTION

                     Plaintiff,
                                                       Case No. 0:22-cv-60117
v.
                                                       Judge:
DERMACONCEPTS, LLC, a Florida limited
liability company,                                     Mag. Judge:

                     Defendant.


                COMPLAINT AND DEMAND FOR JURY TRIAL

      NOW COMES the Plaintiff, MELISSA GREEN (“GREEN” or “Plaintiff”),

by and through undersigned counsel, and states the following for her Complaint:

                                  CAUSES OF ACTION

      1.     This is an action brought under Title VII of the Civil Rights Act of 1964

(Title VII), the Florida Civil Rights Act of 1992 (FCRA) and Florida common law

for (1) religious discrimination in violation of Title VII, (2) religious discrimination

in violation of the FCRA, and (3) unpaid wages.

                                      PARTIES

      2.     The Plaintiff, MELISSA GREEN (“GREEN” or “Plaintiff”) is an

individual and was a resident of Broward County, Florida at all times relevant to



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this action, and was employed by Defendant, DERMACONCEPTS, LLC

(“DERMACONCEPTS” OR “Defendant) in Orange County, Florida.

      3.     Defendant, DERMACONCEPTS is a Florida limited liability

company located in Palm Beach County, Florida. DERMACONCEPTS is an

employer under Title VII and the FCRA, and employed GREEN in Broward

County, Florida.

      4.     At all material times, DERMACONCEPTS employed greater than

fifteen (15) employees.

                          JURISDICTION AND VENUE

      5.     This Court has jurisdiction of this matter under 28 U.S.C. §1331.

      6.     This Court has supplemental jurisdiction over GREEN’s state law

claims pursuant to 28 U.S.C. § 1367.

      7.     Venue is proper in the United States District Court for the Southern

District of Florida because the Plaintiff resides in, and the Defendant conducts

business in, and some or all of the events giving rise to Plaintiff’s claims occurred

in Broward County, Florida, which is within the Southern District of Florida.

Venue is proper in the Ft. Lauderdale Division since Broward County is within the

Fort Lauderdale Division.

      8.     GREEN received her Notice of Right to Sue from United States Equal

Employment Opportunity Commission (“EEOC”) on October 21, 2021 and the



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instant Complaint is filed within the time frame required under the law. (A true

and accurate copy of the Notice of Right to Sue is attached as Exhibit A).

                          GENERAL ALLEGATIONS

      9.     GREEN began her employment with DERMACONCEPTS on or

about June 3, 2019, and was employed as a business development manager.

      10.    GREEN always performed her assigned duties in a professional

manner and was very well qualified for her position.

      11.    GREEN, by virtue of her religion (Christian - Protestant), is a member

of a protected class.

      12.    GREEN      always    met      and     exceeded     DERMACONCEPTS’

performance and productivity goals.

      13.    However,     GREEN       is       a   practicing   Protestant   whereas

DERMACONCEPTS’ ownership and decision makers relevant to GREEN were

Jewish.

      14.    GREEN’s religion became learned by DERMACONCEPTS and

DERMACONCEPTS began to discriminate against her based upon her religion.

      15.    Specifically, DERMACONCEPTS removed many of GREEN’s

lucrative sales accounts and assigned them to a similarly situated Jewish employee

(Candace Noonan), the result of which was a slashing of GREEN’s pay.

      16.    This was notwithstanding the fact that GREEN’s production was tops

in the company.

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      17.    DERMACONCEPTS allowed the Jewish account managers to have

special privileges and promotions, and they were not expected to follow the rules

that other non-Jewish account managers are expected to follow. For example, both

Jennifer    Brouse     (New     York     account     manager),      Carrie    Dodson

(Virginia/Maryland/Pennsylvania account manager) are Jewish and were

allowed to offer special incentives, promotions, contests, trips etc. to their accounts

and prospects which substantially boosted their sales numbers. Additionally, their

accounts did not have to comply with the company’s guidelines for online selling,

and Jewish sales people were allowed to sell to non-medical businesses and non-

Jewish sales persons were instructed to target medical practices. GREEN and

Christian employees such as Nealy Skeldon, Bobby Calhoun and Lisa Christensen

were not afforded this more favorable treatment.

      18.    As DERMACONCEPTS’ sales slumped across all of its territories in

the wake of the COVID-19 pandemic, GREEN was targeted for termination based

upon her religion, which was a motivating factor in her termination.

      19.    While similarly situated Jewish employees suffered as much as a 40%

drop in their sales, GREEN did not, and yet she was terminated under the auspices

of having “poor sales numbers.”

      20.    DERMACONCEPTS terminated GREEN on December 1, 2020.

      21.    DERMACONCEPTS’s decision to terminate GREEN’s employment

was predetermined and predicated on her religion.

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        22.   DERMACONCEPTS has violated Title VII and the FCRA.

  COUNT I – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF
                1964, RELIGIOUS DISCRIMINATION

        23.   Plaintiff incorporates by reference Paragraphs 1-22 of this Complaint

as though fully set forth below.

        24.   GREEN is a Protestant and as such, is a member of a protected class.

        25.   At   all   material   times,       GREEN   was    an    employee   and

DERMACONCEPTS was her employer covered by and within the meaning of

Title VII of the Civil Rights Act of 1963, 42 U.S.C §2000e.

        26.   GREEN was, and is, qualified for the positions that she held with

DERMACONCEPTS.

        27.   GREEN has endured disparate treatment while employed with

DERMACONCEPTS, thereby altering the terms and conditions of her

employment.

        28.   The acts, failures to act, practices and policies of DERMACONCEPTS

set forth above constitute intentional discrimination on the basis of GREEN's

religion in violation of Section 703 of Title VII, 42 U.S.C. § 2000e-2.

        29.   As a direct and proximate result of the violations of 42 U.S.C. § 2000e

et seq. as referenced and cited herein, GREEN has lost benefits and privileges of

her employment and has been substantially and significantly injured in her career

path.


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          30.      As a direct and proximate result of the violations of 42 U.S.C. § 2000e

et seq. as referenced and cited herein, and as a direct and proximate result of the

prohibited acts perpetrated against her, GREEN is entitled to all relief necessary

to make her whole as provided for under 42 USC § 2000e et seq.

          31.      As a direct and proximate result of DERMACONCEPTS’s actions,

GREEN has suffered damages, including but not limited to, a loss of employment

opportunities, loss of past and future employment income and fringe benefits,

humiliation, and non-economic damages for physical injuries, mental and

emotional distress.

          32.      GREEN has exhausted her administrative remedies and this count is

timely brought.

          WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of

right, and:

   i.           Injunctive relief directing Defendant to cease and desist from all religious

                discrimination against employees;

   ii.          Back pay and all other benefits, perquisites and other compensation for

                employment which plaintiff would have received had she maintained

                her position with the Defendant, plus interest, including but not limited

                to lost salary and bonuses;

   iii.         Front pay, including raises, benefits, insurance costs, benefits costs, and

                retirement benefits;

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   iv.         Reimbursement of all expenses and financial losses Plaintiff has incurred

               as a result of Defendant’s actions;

   v.          Declaratory relief declaring the acts and practices of Defendants to be in

               violation of the statute cited above;

   vi.         Reasonable attorney's fees plus costs;

   vii.        Punitive damages;

   viii.       Compensatory damages, and;

   ix.         Such other relief as this Court shall deem appropriate.

 COUNT II – VIOLATION OF THE FLORIDACIVIL RIGHTS ACT OF 1992,
                  RELIGIOUS DISCRIMINATION

         33.      Plaintiff incorporates by reference Paragraphs 1-22 of this Complaint

as though fully set forth below.

         34.      GREEN is a Protestant and as such, is a member of a protected class.

         35.      At   all   material   times,       GREEN   was   an    employee    and

DERMACONCEPTS was her employer covered by and within the meaning of the

FCRA.

         36.      GREEN was, and is, qualified for the positions that she held with

DERMACONCEPTS.

         37.      GREEN has endured disparate treatment while employed with

DERMACONCEPTS, thereby altering the terms and conditions of her

employment.


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        38.   The acts, failures to act, practices and policies of DERMACONCEPTS

set forth above constitute intentional discrimination on the basis of GREEN's

religion in violation of the FCRA.

        39.   As a direct and proximate result of the violations of the FCRA as

referenced and cited herein, GREEN has lost benefits and privileges of her

employment and has been substantially and significantly injured in her career

path.

        40.   As a direct and proximate result of the violations of the FCRA as

referenced and cited herein, and as a direct and proximate result of the prohibited

acts perpetrated against her, GREEN is entitled to all relief necessary to make her

whole as provided for under the FCRA.

        41.   As a direct and proximate result of DERMACONCEPTS’s actions,

GREEN has suffered damages, including but not limited to, a loss of employment

opportunities, loss of past and future employment income and fringe benefits,

humiliation, and non-economic damages for physical injuries, mental and

emotional distress.

        42.   GREEN has exhausted her administrative remedies and this count is

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        WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of

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   i.           Injunctive relief directing Defendant to cease and desist from all religious

                discrimination against employees;

   ii.          Back pay and all other benefits, perquisites and other compensation for

                employment which plaintiff would have received had she maintained

                her position with the Defendant, plus interest, including but not limited

                to lost salary and bonuses;

   iii.         Front pay, including raises, benefits, insurance costs, benefits costs, and

                retirement benefits;

   iv.          Reimbursement of all expenses and financial losses Plaintiff has incurred

                as a result of Defendant’s actions;

   v.           Declaratory relief declaring the acts and practices of Defendants to be in

                violation of the statute cited above;

   vi.          Reasonable attorney's fees plus costs;

   vii.         Punitive damages;

   viii.        Compensatory damages, and;

   ix.          Such other relief as this Court shall deem appropriate.

                  COUNT III: COMMON LAW UNPAID WAGE CLAIM

          43.      Plaintiff hereby incorporates Paragraphs 1-7 and 9-10 in this Count as

though fully set forth herein.

          44.      GREEN was an employee of DERMACONCEPTS.



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      45.    DERMACONCEPTS was required to compensate GREEN at her

regular rate of pay for all periods she worked.

      46.    During the COVID-19 pandemic in 2020, DERMACONCEPTS

“furloughed” GREEN and did not pay GREEN any wages during that 5-week

period.

      47.    However, GREEN actually worked during that 5-week period but

was not paid for such work.

      48.    DERMACONCEPTS had operational control over all aspects of

GREEN’s day-to-day functions during her employment, including compensation.

      49.    DERMACONCEPTS failed to pay GREEN all of her wages.

      50.    DERMACONCEPTS has willfully violated Florida law by refusing

to pay GREEN all of her wages.

      51.    As a result of the foregoing, GREEN has suffered damages of lost

wages.

      52.    DERMACONCEPTS is the proximate cause of GREEN’s damages.

      WHEREFORE, Plaintiff prays that this Honorable Court enter a Judgment

in her favor and against the Defendant for an amount consistent with evidence,

the costs of litigation, interest, and reasonable attorneys’ fees under F.S. §448.08.




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                           DEMAND FOR JURY TRIAL

      NOW COMES the Plaintiff, MELISSA GREEN, by and through her

undersigned attorneys, and demands a jury trial under Federal Rule of Civil

Procedure 38 on all issues triable of right by a jury in this action.

                                 Respectfully submitted,


Dated: January 17, 2022          /s/ Benjamin H. Yormak
                                 Benjamin H. Yormak
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